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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                      )
                                               )
                v.                             )
                                               )
 RICHARD W. GATES III,                         )            Crim. No. 17-201-2 (ABJ)
                                               )
                Defendant.                     )




                                            ORDER

       Upon consideration of Defendant Richard W. Gates III’s Unopposed Motion for

Permission to Travel, and finding good cause shown, it is this ___ day of June, 2018, hereby

       ORDERED, that the motion is GRANTED.



                                            _______________________________________
                                            AMY BERMAN JACKSON
                                            UNITED STATES DISTRICT JUDGE
